Fill in this information to identify the case:

Debtor name        Residents First, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $29,844.64
          Ally Financial                                                     Contingent
          6716 Grade Lane Bldg. 9                                            Unliquidated
          Suite 910                                                          Disputed
          Louisville, KY 40213
                                                                            Basis for the claim: Amounts owed on two vehicle leases through end of
          Date(s) debt was incurred
                                                                            lease.
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $709.29
          AMBS Message Center                                                Contingent
          338 West Franklin St.                                              Unliquidated
          Jackson, MI 49201                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 9712
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $150.00
          AmRent                                                             Contingent
          P.O. Box 640495                                                    Unliquidated
          Pittsburgh, PA 15264-0495                                          Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $910.81
          AT&T                                                               Contingent
          P.O.Box 6463                                                       Unliquidated
          Carol Stream, IL 60197-6463                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 2960
                                                                            Is the claim subject to offset?    No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 4
                                                                                                          54118
               23-49817-mar                Doc 28           Filed 11/22/23               Entered 11/22/23 20:35:19                                Page 1 of 4
Debtor      Residents First, LLC                                                            Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $7,202.00
         avidxchange                                                Contingent
         1210 AvidExchange Lane                                     Unliquidated
         Charlotte, NC 28206                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9619
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $3,703.28
         Blue Cross Blue Shield of Michigan                         Contingent
         1250 W 14 Mile Rd                                          Unliquidated
         Troy, MI 48083                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0001
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $48,315.00
         Capital One                                                Contingent
         1680 Capital One Drive                                     Unliquidated
         Mc Lean, VA 22102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $478,864.90
         Champion Construction Services                             Contingent
         755 West Big Beaver Road Ste. 1000                         Unliquidated
         Troy, MI 48084                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $2,378.47
         Chase Auto Finance                                         Contingent
         270 Park Avenue                                            Unliquidated
         New York, NY 10017                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $16,638.70
         Chrysler Capital                                           Contingent
         3000 Kellway Drive Suite 120                               Unliquidated
         Carrollton, TX 75006                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Amounts owed on vehicle leases through end of
         Last 4 digits of account number                           lease.
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $100.00
         Creative Benefits & Insurance Solutions                    Contingent
         45170 Cass Avenue                                          Unliquidated
         Utica, MI 48317                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 4



              23-49817-mar             Doc 28         Filed 11/22/23            Entered 11/22/23 20:35:19                                Page 2 of 4
Debtor      Residents First, LLC                                                            Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $286.91
         GreatAmerica Financial Services Corp                       Contingent
         625 First St SE                                            Unliquidated
         Cedar Rapids, IA 52401                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $4,950.00
         Heirloom Hospitality                                       Contingent
         217 Pierce Street                                          Unliquidated
         Suite 207                                                  Disputed
         Birmingham, MI 48009
                                                                   Basis for the claim: Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $2,878.00
         Home Depot Credit Services                                 Contingent
         Dept. 32 – 2223154158                                      Unliquidated
         P.O. Box 70614                                             Disputed
         Philadelphia, PA 19176
                                                                   Basis for the claim: Credit Card
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $1,722.48
         London Computer Systems (LCS)                              Contingent
         9140 Waterstone Boulevard                                  Unliquidated
         Cincinnati, OH 45249                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $501.00
         Markel Insurance                                           Contingent
         4521 Highwoods Parkway                                     Unliquidated
         Hallieford, VA 23068                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3739
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $895.70
         McChesney Electric, Inc                                    Contingent
         22036 Woodward Avenue                                      Unliquidated
         Ferndale, MI 48220                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $767.00
         Michigan Secretary of State                                Contingent
         One Division N.W.                                          Unliquidated
         Grand Rapids, MI 49503                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4



              23-49817-mar             Doc 28         Filed 11/22/23            Entered 11/22/23 20:35:19                                Page 3 of 4
Debtor       Residents First, LLC                                                                   Case number (if known)
             Name

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $58.45
          OTA - PlatePay                                                    Contingent
          3500 Martin Luther King Blvd.                                     Unliquidated
          Oklahoma City, OK 73111-4295                                      Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 1796
                                                                           Is the claim subject to offset?     No  Yes
3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $55.68
          Paletz Law                                                        Contingent
          2800 Livernois Road                                               Unliquidated
          Troy, MI 48083                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes
3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                    $520.00
          Swistak & Levine P.C.                                             Contingent
          30833 Northwestern Hwy. Suite 120                                 Unliquidated
          Farmington, MI 48334-2581                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                    related creditor (if any) listed?                 account number, if
                                                                                                                                                      any
4.1       Capital One
          P.O. Box 4069                                                                             Line      3.7
          Carol Stream, IL 60197-4069
                                                                                                          Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                            5a.         $                           0.00
5b. Total claims from Part 2                                                                            5b.    +    $                     601,452.31

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.         $                        601,452.31




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 4



               23-49817-mar                Doc 28          Filed 11/22/23               Entered 11/22/23 20:35:19                                Page 4 of 4
